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 7

 8
                                  IN THE UNITED STATES DISTRICT COURT
 9
                                      EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                             CASE NO. 2:09-CR-392 WBS
12                                  Plaintiff,             STIPULATION TO CONTINUE SENTENCING
                                                           HEARING AND ORDER
13                           v.
                                                           DATE: February 18, 2014
14   ISA CHICAGO WHOLESALE, AND                            TIME: 9:30 a.m.
     MUHAMMAD INAYAT,                                      COURT: Hon. William B. Shubb
15
                                   Defendants.
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17
                                                   STIPULATION
18
            1.       By previous order, this matter was set for Judgment and Sentencing on January 27, 2014.
19
            2.       Jay Kanzler, counsel for defendants ISA Chicago Wholesale, Inc. and Mohammad
20
     Inayat, asks that this Court to continue the scheduled sentencing date for both defendants from January
21
     27, 2014, until February 18, 2014 at 9:30 a.m. Additional time is requested because defense counsel
22
     wishes to discuss issues related to payment of restitution with his client and the government, including
23
     the disposition of a piece of real property that is currently subject to a government lien and which it is
24
     anticipated will be used to satisfy a portion of the anticipated restitution order.
25
     ///
26
     ///
27
     ///
28

       STIPULATION RE: SPEEDY TRIAL ACT; [PROPOSED]         1
       FINDINGS AND ORDER
                Case 2:09-cr-00392-WBS Document 98 Filed 01/24/14 Page 2 of 2


 1         3.       On January 23, 2014, counsel for the defendants relayed this request to government

 2 counsel and asked government counsel to file this stipulation. The government agrees that this delay is

 3 reasonable under the facts provided by defense counsel and joins the defendants’ request to continue

 4 Judgment and Sentencing to February 18, 2014 at 9:30 a.m.

 5         IT IS SO STIPULATED.

 6
     Dated: January 23, 2014                                BENJAMIN B. WAGNER
 7                                                          United States Attorney
 8
                                                            /s/ MICHAEL D. ANDERSON
 9                                                          MICHAEL D. ANDERSON
                                                            Assistant United States Attorney
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11

12

13 Dated: January 23, 2014                                  /s/ JAY KANZLER
                                                            JAY KANZLER
14
                                                            Counsel for Defendant
15                                                          ISA Chicago Wholesale, Inc.

16
     Dated: January 23, 2014                                /s/ JAY KANZLER
17                                                          JAY KANZLER
                                                            Counsel for Defendant
18                                                          Muhammad Inayat
19

20
21
                                            FINDINGS AND ORDER
22
           IT IS SO FOUND AND ORDERED.
23
     Dated: January 24, 2014
24

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      STIPULATION RE: SPEEDY TRIAL ACT; [PROPOSED]      2
      FINDINGS AND ORDER
